             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 2:13-cr-00002-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                                )
                    vs.         )             ORDER
                                )
                                )
(1) EUDINE TRENAE WILSON and    )
(2) MARIE LUZINSKI RAYMOND.     )
_______________________________ )

     THIS MATTER is before the Court on Defendant Marie Luzinski

Raymond’s Motion to Continue Docket Call [Doc. 91]. Defendant Eudine

Trenae Wilson joins in Defendant Raymond’s motion [Doc. 92].

     Defendant Raymond seeks a continuance of the trial of this matter,

which is currently scheduled to take place during the January 6, 2014 trial

term. [Doc. 91]. For grounds, counsel notes that a Memorandum and

Recommendation has been filed regarding the Defendants’ motions to

suppress, and that objections have been filed are currently under

advisement with the Court. [See Docs. 85, 86]. The Government does not

oppose the Defendants’ request for a continuance. [Doc. 91].

     The Court finds that this case should be continued. The Speedy Trial

Act excludes from the time within which a defendant must be brought to



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trial “[a]ny period of delay . . . resulting from any pretrial motion, from the

filing of the motion through the conclusion of the hearing on, or other

prompt disposition of, such motion.”      18 U.S.C. § 3161(h)(1)(D).           The

Speedy Trial Act further excludes any “delay reasonably attributable to any

period, not to exceed thirty days, during which any proceeding concerning

the defendant is under advisement by the court.”                 18 U.S.C. §

3161(h)(1)(H). As noted above, the Magistrate Judge’s Memorandum and

Recommendation on the Defendants’ suppression motions is currently

under advisement by the Court. It is unlikely that the Court can rule on the

parties’ objections to the Memorandum and Recommendation sufficiently in

advance of the January 6, 2014 trial term in order to allow the parties an

adequate opportunity to prepare for trial in light of the Court’s ruling. Under

these circumstances, the Court finds that a failure to continue the case

would result in a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

      Because no motion for severance has been granted, the continuance

of Defendant Raymond’s case justifies the continuance of Defendant

Wilson’s case as well. See 18 U.S.C. § 3161(h)(6) (allowing for exclusion

of “a reasonable period of delay when the defendant is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for

severance has been granted”).


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     For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

     Accordingly, IT IS, THEREFORE, ORDERED that Defendant

Wilson’s motion for joinder [Doc. 92] is GRANTED.

     IT IS FURTHER ORDERED that Defendant Marie Luzinski

Raymond’s Motion to Continue Docket Call [Doc. 91] is GRANTED, and

the above-referenced Defendants are hereby CONTINUED from the

January 6, 2014 term in the Asheville Division.

     IT IS SO ORDERED.           Signed: December 30, 2013




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